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Exhibit A

AFFIDAVIT OF SPECIAL AGENT ANTHONY FONTANELLA

1, Anthony Fontanella, Special Agent of the United States Drug Enforcement

Administration (hereinafter “DEA”) do hereby depose and state:
I. INTRODUCTION

1. I have been a Special Agent with the Drug Enforcement Administration since
April 2018. I have been assigned to the Springfield Resident Office of the DEA’s New England
Division since September 17, 2018. As such, I am a law enforcement officer of the United
States within the meaning of 21 U.S.C. § 878, as well as 18 U.S.C. § 2510(7), in that I am
empowered by law to conduct investigations of offenses enumerated in Title 21 of the United
States Code and 18 U.S.C. § 2516(1)(e).

2. In connection with my official duties as a DEA Special Agent, I am responsible
for conducting investigations into violations of Titles 18, 21, and 31 of the United States Code
and other federal criminal statutes. As a Special Agent of the DEA, I am responsible for
investigations focusing on the importation and distribution of illegal narcotics. I have received
basic training in narcotics investigations at the DEA Academy located in Quantico, Virginia.

3. In addition to my training, I have had experience in the investigation of the
activities of narcotics traffickers. Since joining the DEA, I have participated in narcotics
investigations, both as a case agent and in subsidiary roles, relating to the distribution of
controlled substances, including marijuana, cocaine, heroin, and other illegal substances. I have
participated in almost all aspects of narcotics trafficking investigations including, but not limited
to, conducting surveillance, using confidential informants, executing arrest and search and

seizure warrants, and conducting court-authorized electronic surveillance.
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Ir. PURPOSE OF AFFIDAVIT

4,

T submit this affidavit in support of a Verified Complaint for Forfeiture in Rem

against the following properties:

a.

The real property located at 32 Main Street, Monson, MA 01057, including all
buildings, appurtenances, and improvements thereon, more fully described ina
deed recorded with the Hampden County Registry of Deeds on December 29,
2017, in Book 22010, page 569 (‘DEFENDANT PROPERTY 1”);

The real property located at 36 Main Street, Monson, MA 01057, including all
buildings, appurtenances, and improvements thereon, more fully described in a
deed recorded with the Hampden County Registry of Deeds on December 7,
2017, in Book 21978, Page 156 (“DEFENDANT PROPERTY 2”);

The real property located at 151 Palmer Road, Monson, MA 01057, including all
buildings, appurtenances, and improvements thereon, more fully described in a
deed recorded with the Hampden County Registry of Deeds on October 31, 2018,
Book 22428, Page 467 (“DEFENDANT PROPERTY 3”);

The real property located at 4026 Pleasant Street, Thorndike, MA 01079,
including all buildings, appurtenances, and improvements thereon, more fully

described in a deed recorded with the Hampden County Registry of Deeds on
October 23, 2018, Book 22413, Page 484 (‘DEFENDANT PROPERTY 4”); and

The real property located at 2041-2043 High Street, Three Rivers, MA 01080,
including all buildings, appurtenances, and improvements thereon, more fully

described in a deed recorded with the Hampden County Registry of Deeds on
March 4, 2020, Book 23113, Page 498 (“DEFENDANT PROPERTY 5”)

(collectively, the “DEFENDANT PROPERTIES”).

5.

As set forth below, probable cause exists to believe that the DEFENDANT

PROPERTIES are subject to forfeiture to the United States, pursuant to 21 U.S.C. § 881(a)(7), as

“[aJll real property, including any right, title, and interest (including any leasehold interest) in the

whole of any lot or tract of land and any appurtenances or improvements, which is used, or

intended to be used, in any manner or part, to commit, or to facilitate the commission of, a

violation of this subchapter punishable by more than one year’s imprisonment.” Specifically,
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there is probable cause to believe that the DEFENDANT PROPERTIES have been used, or
intended to be used, to commit, or to facilitate the commission of, the following offenses:
manufacturing, distribution and possession with the intent to distribute marijuana, in violation of
21 U.S.C. § 841; conspiracy to violate the Controlled Substances Act, in violation of 21 U.S.C.

§ 846; and/or use and maintenance of a drug-involved premises, in violation of 21 U.S.C. § 856,
because the DEFENDANT PROPERTIES are used for growing marijuana for illicit distribution.
6. The information contained in this affidavit is based on witness interviews,
conversations with other federal, state, and local law enforcement officers, the review of records,

documents and other evidence obtained during this investigation, my personal knowledge and
observations, and my training and experience.
iI. TRAINING AND EXPERIENCE

7. With regard to illicit marijuana operations, specifically, I have knowledge
regarding the identification, location, and destruction of marijuana growing operations and can
recognize the common methods used to cultivate marijuana and the different types and
configurations of equipment used in marijuana growing operations. I know that successful
cultivation of marijuana inside a structure requires the regulation of heat, moisture, humidity and
oxygen within the structure. The indoor cultivation of marijuana requires the use of numerous
high-intensity metal halide, sodium or LED lights, often in the output range of 400 to 1000 watts.
The required electricity consumption is significant. These types of lights often require a ballast
transformer to convert 110 voltage to 220 volts. I know indoor grows often require a form of a
regulated ventilation system, to provide fresh air and to exhaust extra heat and humidity. These
lights, transformers, and ventilation fans, etc. are generally connected to one or more timing

devices, or electronic sensors, so that they are turned on and off at regulated intervals in an effort
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to simulate the environmental stimuli the plants would experience outdoors. The constant use of
this type of grow equipment results in a high consumption of electricity. Structures will often

be modified to accommodate the extra vents and electrical demands. The electricity will
sometimes be diverted from the source in order to circumvent the meter. Thus, the electric

could be stolen from the power supplier and not captured as being consumed. Windows will
often be covered from the inside to prevent detection from law enforcement, or as a result of the
altering of the interior of the structure to accommodate the grow rooms.

8. I also know, through training and experience, that indoor marijuana growing
operations require a large amount of equipment and supplies. The type of equipment required to
grow marijuana (large lights, numerous electrical cords, water trays, PVC piping, water pumps,
hoses, chemicals, fertilizers, sprayers, as well as light shields, ballast transformers,
dehumidifiers, air filtration and conditioning units, potting soil or other grow medium, pots, etc.)
is bulky and easily recognizable. Persons involved in the indoor cultivation of marijuana often
utilize outbuildings and/or other storage facilities (commercial for-rent storage units, for
example) when they are unable or unwilling to store these items in their own residences. I am
further aware that an indoor cultivation operation requires routine maintenance and oversight
which can be time consuming and labor intensive.

9. I am also aware, through training and experience, that drug traffickers often place
assets, such as real property, in the names of other persons or entities, including limited liability
companies, to conceal their true ownership, the purpose for which they were acquired, and the

manner by which they were acquired.
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10. _—‘ This affidavit does not contain all the information known to me and other law
enforcement officers regarding the investigation, but only those facts that sufficient to establish
probable cause for the forfeiture of the DEFENDANT PROPERTIES.

IV. PROBABLE CAUSE
A. The DEFENDANT PROPERTIES Are Not Licensed to Produce or Sell Marijuana.

11. Growing and distributing marijuana remains illegal under Federal law. However,
under Massachusetts law, the possession and cultivation of small amounts of marijuana can be
legal under state law in certain circumstances. The cultivation of large quantities of marijuana
and the cultivation of marijuana for sale by private individuals remains unlawful under both
Massachusetts law, as well as under federal law. Under Massachusetts law, a business entity
can apply to the Massachusetts Cannabis Control Commission for a license to produce or sell
marijuana within the state. The Commission maintains an online database of licensees which
can be indexed by business name, business address, and mailing address. A review of that
database, on June 11, 2020, showed no current or pending Massachusetts state licenses for
marijuana production or sale associated with the DEFENDANT PROPERTIES or the persons or
entities that own the DEFENDANT PROPERTIES. Ofcourse, even if such persons or entities
were licensed by Massachusetts, use or intended use of the DEFENDANT PROPERTIES to
grow, store, or cultivate marijuana would still violate federal law and subject the DEFENDANT
PROPERTIES to forfeiture.

B. Property Records for the DEFENDANT PROPERTIES

12. The property records for the DEFENDANT PROPERTIES show that ownership

of each property was transferred within the last three years and that an individual named Xing

Gao Wang (a.k.a. Xing Guo Wang, Xing G. Wang) either owns or is associated with the
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corporate entity that owns each of the DEFENDANT PROPERTIES, with the exception of

DEFENDANT PROPERTY 1. For example:

a.

13.

DEFENDANT PROPERTY 1 is owned by BG Real Estate, Inc., a Massachusetts
corporation, registered with the Secretary of State on December 27, 2017. It was
purchased on December 29, 2017 for $125,000. The registered agent of the
corporation is listed as Yu Xiang Liu, who is also listed as holding all of the
company’s officer and director positions.

DEFENDANT PROPERTY 2 is owned by 36 Main Street, LLC, a Massachusetts
limited liability company, registered with the Secretary of State on November 20,
2017. It was purchased on December 7, 2017 for $219,000. Xing Guo Wang is
listed as the resident agent of the LLC, and the LLC’s manager, Secretary of the
Commonwealth (“SOC”) signatory, as well as the individual responsible for the real
property.

DEFENDANT PROPERTY 3 is owned by Palmer Road, LLC, a Massachusetts
limited liability company, registered with the Secretary of State on August 14, 2018.
It was purchased for $475,000 on October 31, 2018. Palmer Road, LLC lists Xing
Gao Wang as its resident agent, the SOC signatory, as well as the individual
responsible for the real property.

DEFENDANT PROPERTY 4 is owned by Pleasant 4026, LLC, a Massachusetts
limited liability company, registered with the Secretary of State on July 19, 2018. It
was purchased on October 23, 2018 for $75,000. Pleasant 4026, LLC lists Xing Gao
Wang as the SOC signatory, as well and the individual responsible for the real
property.

DEFENDANT PROPERTY 5 is owned by Xing Gao Wang. It was purchased on
February 24, 2020 for $138,000.

In addition to four of the DEFENDANT PROPERTIES, Xing Gao Wang acquired

another property, 1036 Central Street, Palmer MA 01069 (“1036 Central St.”) for $54,000 on

February 20, 2019. As discussed in more detail below, there is probable cause to believe that

the DEFENDANT PROPERTIES are being used to operate a large scale marijuana cultivation

operation, and evidence gathered during the course of this investigation indicates that individuals

who reside at 1036 Central St. work at or are connected to the DEFENDANT PROPERTIES.

Based on my training and experience, I am aware that other investigations have observed

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workers at large scale marijuana cultivation operations residing together in one location and
traveling back and forth to the various grow houses.
C. Surveillance of the DEFENDANT PROPERTIES

14. —_ In July 2019, the Monson Police Department (“Monson PD”) received a citizen
complaint, from an individual known to the Monson PD, that DEFENDANT PROPERTY 1,
DEFENDANT PROPERTY 2, and DEFENDANT PROPERTY 3 in Monson were being used as
illegal marijuana grow-houses. Since that time, the Monson PD and other federal and local law
enforcement have been conducting surveillance on the DEFENDANT PROPERTIES.

15. | DEFENDANT PROPERTIES 1, 2, 4, and 5 are residential properties, but exhibit
characteristics specific to large-scale self-contained indoor marijuana grows. For example, it
does not appear that any individuals reside at these residences, as no vehicles are consistently at
the houses or stay overnight, although in recent weeks an individual was observed staying at
DEFENDANT PROPERTY 1. Aside from a few pieces of furniture, investigators have not
observed any items outside, such as boots, children’s toys, trash cans, garden tools, or gas grills.
Investigators also noted that the yards of these properties were minimally landscaped and the
lawns were not mowed on a regular basis. From my training and experience, I know that
residences being used for large-scale indoor marijuana grows usually are not also used for
habitation, and as a result are often devoid of landscaping or items of recreation which would be
present at a habitable residence.

16. During surveillance, investigators never saw the windows open at these
properties, and noted that the shades and curtains in the homes were drawn shut, despite hot
temperatures and an absence of air conditioning units in the summer months. Agents observed

on several occasions that many of the windows at DEFENDANT PROPERTIES 4 and 5 were
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covered from the inside with what appeared to be brown paper. As noted above, in buildings
housing indoor marijuana grows, windows will often be covered from the inside to prevent
detection by law enforcement.

17. Despite other homes placing trash cans at the curb, DEFENDANT PROPERTY 4
and DEFENDANT PROPERTY 5 have not had trash to pick up, nor until recently did
DEFENDANT PROPERTY 1, when an individual began staying there. DEFENDANT
PROPERTY 2 has not had trash to pick up consistently, but agents have observed trash cans left
out by the curb sporadically. At night, it appeared that a few lights at DEFENDANT
PROPERTY 2 and DEFENDANT PROPERTY 4 were set on a timer, as the same lights would
be on despite there being no one at the home. Other rooms were always noted to be pitch dark,
suggesting that false walls could have been constructed in front of the windows.

18. DEFENDANT PROPERTY 3 is not a residential property, but a brick warehouse
with virtually no windows. In November 2018, a Monson firefighter filed a complaint with the
building department, reporting that on November 27, 2018, there was a dumpster outside the
loading dock of DEFENDANT PROPERTY 3 with a large amount of building materials in it.
That same individual reported that two days later, on November 29, 2018, the dumpster had been
removed and there had been a delivery outside the loading dock of what appeared to be a
sheetrock and 2x4s. Thereafter, WYD Construction applied for a building permit for interior
demolition, listing the owner of record as “Palmer Road, LLC / Xing Guo Wang”. The name of
the business listed was “MA Equipment Supply, Inc.” and phone number provided was a T-
Mobile cellular telephone with no subscriber information. That business has since dissolved.

19, Surveillance has revealed that four vehicles regularly travel between the

DEFENDANT PROPERTIES, where several individuals are believed to work, and 1036 Central
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St., where several individuals connected to the DEFENDANT PROPERTIES are believed to
reside. Indeed, during the time frames of August 23, 2019 to September 7, 2019 and September
17, 2019 to November 1, 2019 officers tracked, using a GPS tracker, one vehicle consistently
traveling between 1036 Central St. and at least one of the DEFENDANT PROPERTIES on an
almost daily basis. During over forty-five hours of dedicated surveillance by DEA during
daylight hours, as well as random spot checks by Monson PD during day and night hours,
investigators have not observed any other vehicles in the driveways of DEFENDANT
PROPERTY 2, DEFENDANT PROPERTY 4 or DEFENDANT PROPERTY 5. In addition,
surveillance has consistently observed the same six individuals travelling between 1036 Central
and the DEFENDANT PROPERTIES in the same vehicles and staying at those properties for
multiple hours. I believe these individuals are the laborers working to maintain the marijuana
grows at these locations.

20. For example, on November 16, 2019, one of these vehicles was observed at 1036
Central St. The next day, November 17, 2019, the vehicle was seen backed up to the door of
DEFENDANT PROPERTY 2, and later parked in the driveway of DEFENDANT
PROPERTY 4. From there, it traveled to Connecticut, where it was stopped for speeding. The
officer obtained consent to search the vehicle and located approximately 14.5 pounds of
marijuana packaged in clear, vacuum-sealed bags. The driver, Li Feng Li, was arrested for
Possession of | kilogram or more of Cannabis Substance, Drug Possession near a Prohibited
Place, Marijuana Drug Tax, and the speeding violation. Li Feng LI used his cell phone to call
Xing G. Wang, the owner or registered agent for the owners of several of the DEFENDANT
PROPERTIES, who agreed to bond Li Feng LI out. The vehicle has not been seen since the

November 17, 2019 traffic stop.
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21. On August 29, 2019, a GPS tracking device, authorized by a warrant signed on
August 23, 2019 by Palmer District Court Clerk Magistrate Angie Carter, indicated that another
vehicle had stopped at 45 Bodwell Street, Avon, MA, the address of a grow supply store called
“Hydro 4 Less”. A review of the “Facebook” page of “Hydro 4 Less” indicates that the store
maintains a large warehouse of high-end specialty grow supplies and appears to cater to those
growing marijuana. Shortly thereafter, an officer observed the back of the vehicle sagging
heavily as though it contained a large quantity of materials. The vehicle returned to 1036
Central St. and, after approximately 20 minutes, was observed backed up to DEFENDANT
PROPERTY 2.

D. Monson Water Department Services Call to DEFENDANT PROPERTY 3

22. Law enforcement officers spoke with two Monson Water and Sewer employees
who responded to a service call request at DEFENDANT PROPERTY 3, the warehouse, on
January 31,2020. The employees described entering a room about eight feet long by eight feet
wide that had access to the water lines. One of the walls had a window and a door leading to the
rest of the warehouse, but the window had been covered over so the employees could not see
anything in the warehouse. The employees noted a strong smell of air fresheners, with an
underlying smell of marijuana. The employees reported that they fixed a water valve in the
warehouse. In the following days, investigators noticed an increase in traffic to that property.
In my training and experience, the reduced traffic during the water pressure issue at
DEFENDANT PROPERTY 3 indicates that the lack of water affected the marijuana grow,
which thereby required less labor until it was fixed. Once the water pressure issue was fixed,
DEFENDANT PROPERTY 3 again saw increased traffic involving the individuals believed to

be tending to the grow.
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E. Evidence Gathered From Trash Pulls

23. Investigators have periodically gathered trash from 1036 Central St. and
DEFENDANT PROPERTY 1. From these trash pulls, investigators discovered documents
linking several of the DEFENDANT PROPERTIES and 1036 Central St. Investigators also
found materials further evidencing a grow operation.

24. For example, in a trash pull of DEFENDANT PROPERTY 1 conducted on March
20, 2020, investigators discovered an instruction booklet for a “Universal Motor Speed Control.”
Based on my training and experience, such an electrical device is often used to regulate the speed
of cooling fans or other electrical components used in indoor marijuana grows. In addition,
written on the instruction booklet in red ink was “Rainworks Fertilizer Co. Megabud Nutrient
Solution.” I conducted an internet search of these terms and discovered that Rainworks
Fertilizer Company is a Canadian company that produces plant supplements geared towards
marijuana growers, and that Megabud Nutrient Solution is a component in the nutrient cycle
recommended by Rainworks. Also written on the instruction booklet in red ink was
“Provisiongardensupply.com.” A Google search revealed “provisiongardensupply.ca” an
internet address for Provision Garden Hydroponics and Supplies, a Canadian company that
provides products used for indoor hydroponic cultivation of marijuana plants. I believe these
are referencing the same site because inputting “www.provisiongardensupply.com” in a Web
browser automatically redirects to “www.provisiongardensupply.ca”.

25. Written on another sheet recovered during this trash pull was “Portacool Cyclone
130”. This is an evaporative cooler that can be used to cool a large area, but is not
recommended for indoor use because use of the cooler also raises humidity, which is not

desirable inside a home or office. From my training and experience, I have learned that
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residential marijuana grow-houses are now being constructed in ways to self-contain the grow
inside the residence. This self-containment of the grow allows grow-rooms to be vented back
inside the house itself, thus reducing outside odors and the appearance of vents or A/C units
visibly attached to the outside of the house. This type of evaporative cooler does not require
venting outside, and thus, can deliver two desired effects for an indoor marijuana grow operation
without the need to vent to the outside: decreased temperature and increased humidity.

26. Finally, handwritten in red ink on another piece of paper was “1036 Central St
Palmer MA 01069,”

27. On August 5, 2019, a trash pull from 1036 Central St. contained a Comcast bill
for Palmer Road LLC, 151 Palmer Road, Monson, MA (the address of DEFENDANT
PROPERTY 3, the warehouse); a Home Depot receipt associated with a Visa card ending in
#1699; and handwritten notes in Chinese referencing “dumpsters, or rubbish”, “warehouse first
time electric fee”, “fans”, and “water fee”. The Chinese for “water fee” was written several
times, as if the author was tracking multiple properties.

28. | Ahistory of Home Depot purchases using this Visa card showed that purchases
with that card began in November of 2018, around the same time that DEFENDANT
PROPERTY 3, the warehouse, was purchased. Numerous purchases were made with that card
totaling several thousands of dollars between November of 2018 and July of 2019. The
purchases included 200 sheets of drywall, suggesting a large construction project, and, although
the delivery destination is not known, the timing of the delivery is consistent with reports of
construction at DEFENDANT PROPERTY 3; over two hundred extension cords and five power
strips; and various other construction materials, electrical wire, metal conduit, tarps, utility water

pumps, PVC pipe fittings, oil heaters, room-darkening blinds, and dehumidifiers. This
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equipment is consistent with equipment needed to construct and maintain a large-scale marijuana
operation. An on-line Home Depot order receipt from May 29, 2019 shows the purchase of six
“Cyclone 130 Evaporative Coolers”, using the same Visa card. As noted above, such coolers
are not recommended for indoor use because use of the cooler also raises humidity, which would
not be desirable inside a home or office. In addition, a Home Depot receipt shows that “Xing
Wang” of “1036 Central Street, Palmer, MA” used this credit card to order several new
appliances, totaling $2,150.00, in March 2019 that were delivered to 1036 Central St.

F. Electrical Use at the DEFENDANT PROPERTIES

29. Based on my training and experience, | know that large amounts of electrical
power are needed in support of indoor marijuana cultivation because of the use of artificial
lighting in place of the sun when growing indoors. These lights are referred to as “grow lights”
and are often 400 watt to 1000 watt metal halide or high pressure sodium bulbs. In addition, I
know that indoor marijuana growing operations require extremely large amounts of electricity to
power the hardware needed to grow the plants. I know that indoor cultivators of marijuana
utilize large quantities of electricity to operate pumps, fan blowers, humidifiers, air conditioners,
carbon dioxide generators, ballasts, and high intensity lights.

30. In June 2020, I reviewed records obtained from National Grid, the electricity
utility for this area, for several of the DEFENDANT PROPERTIES and other, similar nearby
residences (not Defendant Properties). A comparison of these records, as set forth in the below
tables, demonstrates that the DEFENDANT PROPERTIES use electricity at an abnormally high
rate and in a manner that is consistent with the high power consumption needed to operate an
indoor marijuana grow. Although I reviewed the electrical usage of DEFENDANT

PROPERTY 3, the warehouse, I was unable to identify any nearby comparable properties.
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Electrical Usage at DEFENDANT PROPERTY I and DEFENDANT PROPERTY 2

31. — The following table provides a kilowatt-hour monthly usage comparison between

the DEFENDANT PROPERTY 1 and DEFENDANT PROPERTY 2 and similar-sized houses

nearby for the three month period of March through May 2020:

 

 

 

 

 

 

 

 

 

32. Based on kilowatt per square foot, between March and May 2020, DEFENDANT

 

 

 

a
ELECTRICAL USAGE AT
DEFENDANT PROPERTY 1 AND DEFENDANT PROPERTY 2
DEFENDANT DEFENDANT 30 Main St. 42 Main St.
PROPERTY 1 PROPERTY 2 1,836 Sq. Ft. 3,476 Sq. Ft.
3,398 Sq. Ft. 2,934 Sq. Ft. 4 bed, 1.5 bath 8 bed, 4 bath
4 bed, 2 bath 6 bed, 3 bath
Month / Year Kilowatt Hours
May 2020 5,613 13,834 487 674
Apr 2020 5,890 15,720 580 670
Mar 2020 7,450 15,606 496 836

 

PROPERTY 1 used between 1.65 kw/sq.ft. and 2.19 kw/sq.ft. each month, and DEFENDANT
PROPERTY 2 used between 4.71 kw/sq.ft. and 5.36 kw/sq.ft. each month. In contrast, during
that time period, 30 Main St. used between .26 kw/sq.ft. and .32 kw/sq.ft., and 42 Main St. used
between .19 kw/sq.ft. and .24 kw/sq.ft.

33. The difference in electrical usage between DEFENDANT PROPERTY 1 and
DEFENDANT PROPERTY 2 and their neighbors strongly suggests that there is a significant
indoor marijuana growing operation at both DEFENDANT PROPERTY 1 and DEFENDANT
PROPERTY 2. Each of these DEFENDANT PROPERTIES’ electrical usage is nearly ten

times or more the usage of its neighbors for the months analyzed.

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34.

Electrical Usage at DEFENDANT PROPERTY 4

The following table provides a kilowatt-hour monthly usage comparison between

DEFENDANT PROPERTY 4 and other houses nearby for the three month period of March

 

 

 

 

 

 

through May 2020:
ELECTRICAL USAGE AT DEFENDANT PROPERTY 4
DEFENDANT 4041 Pleasant St. 4046 Pleasant St.
PROPERTY 4 1,134 Sq. Ft. 1,396 Sq. Ft.
2,622 Sq. Ft. 3 bed, 1 bath 3 bed, 1.5 bath

4 bed, 1.5 bath

Month / Year Kilowatt Hours

May 2020 13,622 546 1,093

Apr 2020 16,280 664 721

Mar 2020 13,764 565 784

 

 

 

 

 

 

35. Based on kilowatt per square foot, between March and May 2020, DEFENDANT
PROPERTY 4 used between 5.19 kw/sq.ft. and 6.20 kw/sq.ft. each month. In contrast, over that
same period, 4041 Pleasant St. used between .48 kw/sq.ft. and .59 kw/sq.ft., and 4046 Pleasant
St. used between .52 kw/sq. ft. and .78 kw/sq. ft.

36. Although the houses around DEFENDANT PROPERTY 4 are smaller in size, the
magnitude in difference in electrical usage between DEFENDANT PROPERTY 4 and other
houses in the area, in excess of ten times or more, does not appear to be attributable to a
difference in square footage, but rather indicates the presence of an indoor marijuana grow.

Electrical Usage at DEFENDANT PROPERTY 5

37. The following table provides a kilowatt-hour monthly usage comparison between

DEFENDANT PROPERTY 5 and other houses nearby for the three month period of March

through May 2020:

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ELECTRICAL USAGE AT DEFENDANT PROPERTY 5
DEFENDANT 2033 High St. 2057-2061 High St.
PROPERTY 5 2,408 Sq. Ft. 3,112 Sq. Ft.
4,112 Sq. Ft. 5 bed, 1.5 bath 5 bed, 3 bath
5 bed, 4 bath
Month / Year Kilowatt Hours
May 2020 2,935 1,496 1,039
Apr 2020 0 1,692 1,525
Mar 2020 0 1,604 2,153
38. With DEFENDANT PROPERTY S, there is only a slight increase in electrical

usage in comparison to the surrounding properties; the kilowatt per square foot usage is roughly

the same as 2033 High Street, but approximately double that of 2057-2061 High Street.

DEFENDANT PROPERTY 5 was purchased on February 24, 2020, and based on surveillance

done since that date, I believe that the property is in the process of being converted into a full-

scale indoor marijuana grow. The installation of high-powered lights, electrical lines, air

conditioners and water pumps takes a period of time after the purchase of the location, and

would only be used in rooms that have been renovated.

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CONCLUSION
39, Based on the facts as set forth in this affidavit, I have probable cause to believe
that the DEFENDANT PROPERTIES are subject to forfeiture to the United States pursuant to 21
U.S.C. § 881(a)(7) because the DEFENDANT PROPERTIES are being used, or intended to be
used, to facilitate the growing marijuana for distribution, in violation of federal law.

Sworn to under the pains and penalties of perjury,

Anthony Fontanella
Special Agent
U.S. Drug Enforcement Administration

 

Date: July “h, 2020

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